854 F.2d 1318Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Patrick Joseph CARBERRY, a/k/a John Mark Davidson,Defendant-Appellant.
    No. 88-7719.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 28, 1988.Decided July 26, 1988.
    
      Patrick Joseph Carberry, appellant pro se.
      Justin W. Williams, Office of U.S. Attorney, for appellee.
      Before DONALD RUSSELL, MURNAGHAN, and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Patrick Joseph Carberry appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  U.S. v. Carberry, CA-76-47-A, CA-87-1084-A, CR-75-362-A (E.D.Va. April 6, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    